                        Case 4:21-cv-02155-YGR        Document 93-8     Filed 10/01/21    Page 1 of 2



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                   12                               UNITED STATES DISTRICT COURT
                   13                             NORTHERN DISTRICT OF CALIFORNIA
                   14                                       SAN JOSE DIVISION
                   15

                   16   In re Google RTB Consumer Privacy                Master File No. 5:21-cv-02155-LHK
                        Litigation,
                   17                                                    PROPOSED ORDER

                   18   This Document Relates to: all actions,

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 SAN FRANCISCO
                                                                                                    PROPOSED ORDER
                                                                                         CASE NO. 5:21-CV-02155-LHK
                        Case 4:21-cv-02155-YGR             Document 93-8       Filed 10/01/21     Page 2 of 2



                    1               The motion by Defendant Google LLC (“Google”) to dismiss Plaintiffs’ Consolidated Class

                    2   Action Complaint (“CAC”), and Defendant’s Request for Judicial Notice in Support of Defendant

                    3   Google’s Motion to Dismiss Plaintiffs’ CAC (“RJN”) was heard on December 9, 2021.

                    4               Having considered the parties’ moving, opposition and reply papers, Defendant’s RJN, the

                    5   exhibits attached to the Declaration of Robby Saldaña, the argument of counsel, the pleadings and

                    6   files in this action, and all other matters properly before the Court, IT IS HEREBY ORDERED

                    7   that Defendant’s Motion to Dismiss the CAC is GRANTED [WITH/WITHOUT] PREJUDICE.

                    8   IT IS FURTHER ORDERED that Defendant’s Request for Judicial Notice is GRANTED.

                    9               IT IS SO ORDERED.

                   10   Dated: December ___, 2021                           By:
                                                                                  Hon. LUCY H. KOH
                   11                                                             United States District Court Judge
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                                                                                                             PROPOSED ORDER
 SAN FRANCISCO                                                             2                      CASE NO. 5:21-CV-02155-LHK
